        Case: 24-10266    Document: 38    Page: 1    Date Filed: 04/08/2024




                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                      TEL. 504-310-7700
CLERK                                                           600 S. MAESTRI PLACE,
                                                                        Suite 115
                                                               NEW ORLEANS, LA 70130

                               April 08, 2024
MEMORANDUM TO COUNSEL OR PARTIES BELOW:
      No. 24-10266       In re: Chamber of Commerce
                         USDC No. 4:24-CV-213
     On April 8, 2024, counsel for the Consumer Financial
Protection Bureau filed a letter with the court to supplement the
Certificates of Interested Persons that Plaintiff–Appellants filed
in No. 24-10266 and No. 24-10248. In the letter, the Bureau wrote
to inform the court that, in its view, large credit card issuers—
defined as those issuers that, together with their affiliates,
have one million or more open credit card accounts—“have a
financial interest in the outcome of this litigation.” The Bureau
explained that it offered this information in order for the judges
of this court to “evaluate possible disqualification or recusal.”

     Under the Code of Conduct for United States Judges, a judge
“shall disqualify himself” when “the judge knows that the judge,
individually or as a fiduciary, or the judge’s spouse or minor
child residing in the judge’s household, has a financial interest
in the subject matter in controversy or in a party to the
proceeding, or any other interest that could be affected
substantially by the outcome of the proceeding[.]” Canon 3C(1)(c).
No large credit card issuers are listed as parties to this
litigation. Nor did the originally filed Certificates of
Interested Persons mention credit card issuers; rather, the
Certificates listed only the named parties. Recusal might be
nonetheless proper where a judge’s interest in a nonparty large
credit card issuer could be “affected substantially by the outcome
of the proceeding.”

     The Code defines “financial interest” to mean “ownership of
a legal or equitable interest.” Code 3C(3)(c). Under the Code, the
issue is not whether credit card issuers have a financial interest
in this litigation. Rather, recusal may be required where a judge
“or the judge’s spouse or minor child residing in the judge’s
household” has an interest that could be “affected substantially.”
Canon 3C(1)(c).
       Case: 24-10266   Document: 38   Page: 2   Date Filed: 04/08/2024



     Further, an interest in a nonparty warrants recusal only where
the interest could be “affected substantially by the outcome of
the proceeding[.]” Id. The Committee on Codes of Conduct, which
promulgates the Code, has advised that in assessing whether an
interest might be substantially affected, the issue is not the
size of the interest but rather whether the interest could be
substantially affected.

     Accordingly, the parties are requested to file letter briefs
by 5:00 p.m. on Thursday, April 11, 2024, explaining whether or
not an ownership interest in a nonparty large credit card issuer
would be substantially affected by the outcome of this litigation.
Please include in your response a detailed explanation of the
methodology you used in making this assessment.

                                 Sincerely,
                                 LYLE W. CAYCE, Clerk


                                 By: _________________________
                                 Rebecca L. Leto, Deputy Clerk
                                 504-310-7703

cc:   Ms. Jennifer B. Dickey
      Ms. Stephanie Garlock
      Mr. Michael F. Murray
      Mr. Justin Michael Sandberg
      Mr. Philip Avery Vickers
